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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHER DISTRICT OF OHIO
                                 EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION                     MDL No. 2804
 OPIATE LITIGATION
                                                  Case No. 1:17-md-02804
 THIS DOCUMENT RELATES TO:
                                                  Judge Dan Aaron Polster
 Saint Elizabeth Medical Center, Inc. d/b/a St.
 Elizabeth Healthcare v. AmerisourceBergen
 Drug Corp., et al.; Case No. 18-op-46046


ORDER GRANTING PHARMACY DEFENDANTS’ MOTION FOR LEAVE TO FILE
UNDER SEAL EXHIBIT B TO THEIR REPLY IN SUPPORT OF THEIR MOTION TO
STRIKE RICO ALLEGATIONS FROM SAINT ELIZABETH HOSPITAL’S SECOND
                       AMENDED COMPLAINT

       Pharmacy Defendants have filed a Motion for Leave to File Under Seal Exhibit B to their

Reply in Support of Their Motion to Strike RICO Allegations from Saint Elizabeth Hospital’s

Second Amended Complaint.

       Pharmacy Defendants request that, to ensure there are no inadvertent disclosures of

information subject to Protective and Confidentiality Orders and to comply with this Court’s

orders, the Court permit Defendants to file under seal Exhibit B to their Reply in Support of

Their Motion to Strike RICO Allegations.

       1. Pharmacy Defendants’ Motion for Leave to File Under Seal Exhibit B to their Reply

           in Support of Their Motion to Strike RICO Allegations from Saint Elizabeth

           Hospital’s Second Amended Complaint is hereby GRANTED; and

       2. Plaintiff is hereby directed to state within three (3) business days whether they will

           assert any redactions to Exhibit B of the Pharmacy Defendants’ Reply in Support of

           Their Motion to Strike RICO Allegations from Saint Elizabeth Hospital’s Second

           Amended Complaint.
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            IT IS SO ORDERED.

Dated: _July 14, 2025___________         s/Dan Aaron Polster_____________
                                         Honorable Dan Aaron Polster
